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         EXHIBIT 7 –
  Leo v. Lowe, Leo Filings on
          Conspiracy
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                                        STATE OF OKLAHOMA         l
                                        GARVIN COUNTY             5 ss.
                                               FILED
                                                                                   3199 Walworth Road
                                         ,_r/}Jo~::021                             Walworth, NY 14568
                                                                                   January 17, 2021
                                           LAUTEE; Court Clerk
                                        ev·_   __.11_........_ _ DEPUTY
RE: Stopping Tyrants

For the record, Carrie M. Leo, a self-represented litigant, has been severely prejudiced by retaliation from
the New York State Department of Environmental Conservation and the USDA by consistent ''back-seat"
involvement with several cases I have pending inside and outside of New York State.

Not long after the New York State DEC had been served in the recent past for two cases currently pending
in New York State Supreme Court, there was another wave of reaction I found odd coming from the
attorneys and judges in all of my pending cases. Such a reaction occurred only days after the state was
served with service for two petitions now pending in New York State Supreme Court. This has happened
numerous tlmes in the past as well. There may be more retaliation coming since I've filed the dvil-nghts
case against them in federal court. Anytime I exercise my rights, I am retaliated against by the NYSDEC
sometimes along with the USDA.

It has come to my attention that there are staff members in both agencies who are not above ex-parte
communications and passing around documents containing false, derogatory information pertaining to
me. Unfortunately, some of the judges oblige since the staff doing these things are from government
agencies. However, such actions have resulted in the deprivation of my rights, especially those of due
process and personal property. It is clear to me both agencies are trying to railroad me out of the legal
system as if secreting away my property and falsifying documentation to hide its location throughout the
states of Texas and now Oklahoma wasn't enough misconduct already.

I implore all attorneys and judges to resist the influence of either of these agencies and with whom they
may be associated. These two agencies have become increasingly more extreme in their conduct as years
go by since they have yet to be held accountable for the way they hurt members of the public. Every staff
member in these agencies involved in this situation must cease contacting anyone in the other cases and
making attempts to influence the judges and attorneys associated with my pending cases. Such a personal
vendetta against me has been occurring for years and needs to stop. This ongoing extremism and
misconduct perpetrated by the NYSDEC and the USDA is a textbook example proving why the
administrative state is considered to be the greatest threat to our democracy and civil liberties in this
country today.




                                                                           Carrie ~ieo,'HtiJnt prose
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                                                                                                        STATE OF OKLAHOMA                 l
                                                                                                        GARVIN COUNTY                     l       ss.
                                                                                                               FILED
                                      IN THE DISTRICT COURT
                                GARVIN COUNTY, STATE OF OKLAHOMA                                               FEB 23 2021
                                                                                                           IJ :-o--·,
                                                                                                        A T ~ O'CLOCIC__M.
                                                                                                         LAUR~EE. Court Clerk
                  CARRIE M. LEO,                                                                       ev_ _...,1,,....c...:::..._ _ _ _ oEPUTY
                         Plaintiff,                                        Case No. CJ 2019-00089
                            - V-
                                                                        5 Okl. St. Chap. 1, Appx. 4, Rule 2.9
              JEFFREY L. LOWE and
                LAUREN F. LOWE,
                       Defendants.

     NOTICE OF OBJECTION TO SETTING NON-JURY TRIAL AND REQUEST FOR
    DISCLOSURE OF EX-PARTE COMMUNICATION PURSUANT TO 5 O.S. RULE 2.9

          The Plaintiff submits this objection to the Oklahoma District Court of Garvin County
setting a non-jury trial for March 22, 2021. This appointment appears to be scheduled in order to
1.) cause inconvenience for the Plaintiff and making her travel from New York State to Oklahoma
during the apex of a pandemic 1; and 2.) to unilaterally dismiss the case at the beckoning of at least
one government agency with which the Plaintiff has had extensive issues over the past several
years.
          The New York State Department of Environmental Conservation ("NYSDEC" hereinafter)
has targeted the Plaintiff for quite some time now and has intensified its covert agenda against her
by partaking in ex-parte communications with defense counsel and judges presiding over cases
filed by the Plaintiff. This puts the judges and the defense attorneys involved in such cases in
collusion against the Plaintiff who is being denied due process as a result. 2 This is magnified by


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  This was an issue in another case filed by the Plaintiff in Cherokee County, Texas, filed under the caption Carrie Leo v Dr.
Lori Cavitt identified by cause #2020 0020 053, in which the Plaintiff was granted a stay for an in-person deposition allowing
her to wait until the quarantine regarding the pandemic was rescinded by the state of New York since both the court and
defense counsel regarded the failure to impose such a stay would be overly burdensome and prejudicial against the Plaintiff.
However, ignoring that part of the judge's ruling coupled with defense counsel's failure to include it in the written order and
the judge requiring him to do so, denied the Plaintiff the benefits of the stay. As a result, the defense counsel continually
harrassed the Plaintiff with one Notice of Deposition after another which the Plaintiff could not honor due to a plethora of
reasons and notifying defense counsel of such every time he scheduled a deposition. At one point, she notified defense counsel
ten days (receipt of which was verified) before the scheduled deposition was to take place about her inability to attend the
deposition due to the hospitalization of her mother (not to mention the stay was still in effect). Just before the contempt
hearing on the situation, the Plaintiff was denied by the court a few extra days to obtain proof of the hospitalization of her
mother. During the hearing, the court denied her an opportunity to submit evidence she did have by the time of the hearing
and, without any evidence whatsoever that the hospitalization of the Plaintiff's mother was a hoax created by the Plaintiff in
order to avoid traveling to Forth Worth for the deposition, declared the Plaintiff in contempt of court. The court issued a count
of contempt against the Plaintiff charging her all attorney fees, even for preparing for the deposition, as well as a non-appearance
fee charged by the stenographer, totaling over $1400. Even though the court presumptively recognized the Plaintiff's indigency
status and authorized her to proceed in the case without paying costs and fees for the action, the judge stated she was to pay
the $1400+ within thirty days. This would have a preclusive effect on the case due to the Plaintiff simply not being able to
afford such an amount, especially when sanctions are rarely charged against self-represented litigants and, as a result, the
levying of such was suspicious in this situation. The judge was recused from the case.
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   5 Okl. St. Chap. 1, Appx. 4, Rule 1.2


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the fact that there is a lack of disclosure of such communication since the NYSDEC wishes to keep
it secret from the Plaintiff. Undoubtedly, the secret communication is intended to be detrimental
to the Plaintiff asserting her rights. The NYSDEC has been severely compromising such rights
with retaliation against the Plaintiff for her public criticism of the department and her starting a
movement to make government, especially this agency, accountable for the damage they have
incurred upon the lives of members of the public.
       This agency has long surpassed the boundaries of judicial deference or any other allowance
it gets as a government agency. It wields an enormously improper influence over members of the
public throughout the state of New York and has yet to be held accountable for the damage it has
caused. This has caused a decline in the quality of life for many people, especially those who are
forced to interact with Department staff for one reason or another. Staff have unequal enforcement
of rules, regulations and laws as well as undeserved liberty to alter interpretation of any mandate
on a dime, sometimes even making up or adding to already existing rules, regulations, and statutes
when on site with members of the public.
       There have been numerous people cited for violating non-existent rules, regulations, and
laws. Unfortunately, these individuals often don't realize the law under which they've been cited
either doesn't exist, irresponsibly interpreted or the citation was given out by an incompetent
officer or staff member.
       Officers on staff at the agency fail to perform investigations at all, using gossip as
"evidence" or leads which are used in court but are never verified. It is the court system which
can stop such abuses of the legal process from occurring or at least going any further. However,
instead of dispensing real justice, the courts go along with the government staffers, committing
ex-parte communication, fixing the disposition of pending cases, preventing jury trials when
possible, and ruining a litigant's credibility by making her a criminal or violator when the person
is not. This is the way those who become activists, such as the Plaintiff, are discredited unfairly
by the agency in the face of the judiciary and other people who do not understand the real
circumstances under which the agency's smear campaigns start out in the first place.
       The Department has long been citing individuals and businesses for violating rules,
regulations, and laws which either were never to exist, or which weren't put into law until after a
person was cited for violating it. In addition to these violations, there is a plethora of additional
violations perpetrated by the NYSDEC and its associates or helpers as it completely disregards the
constitutional rights and civil liberties of the populace. This is occurring simply because there is


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no oversight and therefore no accountability of this agency which, in tum, is given a blank check
to do as it wishes.
         This has created an agency which is literally acting as a dictatorship recognized by its
bullying others, even other agencies, while taking over jurisdiction of authority not part of the
statutory intent of the agency or changing laws to meet the personal agendas 3 of its staff members.
Instead of discipline or even the slightest bit of accountability of the staff members, ones who hurt
the public end up being promoted thereby validating the already abusive habits of a staff evolving
into a much more extreme version of itself. The more extreme the agency gets, the less it serves
the public and the fewer people it will include. At this time, many individuals have already been
completely excluded from accessing the Department's programs for life while other individuals
who have committed the same actions as those committed by the excluded, are included and can
do no wrong in the eyes of the staff. Often it is these "helpers" who are rewarded with personal
property of others if they help the agency spread enough gossip and false accusations around
concerning specific individuals the agency is targeting. This is happening to the Plaintiff.
         Even though so many egregious violations occur on a daily basis, there is absolutely no
recourse or redress for the victims of agency abuse of procedures and the legal system. Everyone
will defer to the agency in both fact and regulatory interpretation; both of which are far from
truthful.
         The agency is clearly taking advantage of the elevated position given to it by other
authorities, one of them being the judiciary, by causing even more abuse. This is where the
Plaintiff is asking for Judge Edwards and her court to step in and, instead of being one of those
people who only magnify the wrongs incurred by an agency going to extreme lengths to exclude
certain people unjustly, the judge and her court will adhere to the rules of the court strictly and
observe the right to due process of the Plaintiff by keeping the influence of the agency and its'
associates out of the case entirely in compliance with 5 Okl. St. Chap. 1, Appx. 4, Rule 2.4.
         It is important for the court to understand that the Plaintiff has gone to countless people in
positions to help her with her problems with the agency.                         For at least three years, she has
approached everyone inside the agency from the Commissioner himself to the the general counsel
and regional attorneys to no avail. She has also requested assistance from the agency's internal
auditor and the state's inspector general. The New York State Governor was notified and was


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  By asserting it's warped influence in the State of Oklahoma , the NYSDEC and others who collude with it, are possibly
violating 5 Oki. St. Chap. 1, Appx. 4, Rule 1.3.


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asked for assistance. Requests are either ignored or are ridiculed or relayed back to the dame
people with whom the problem started, and then used to retaliate against the person submitting
the complaint. Sadly, the courts appear to be doing the same making it known if you are a minority
in terms of socio-economic status and not having "friends in high places", justice will remain
elusive. It is amazing how just one person, one judge, can start the change needed in the judiciary's
regard for the treatment of litigants who are deemed "worthless" or less than desirable to have in
the courts (i.e. the weaker litigants without money and connections in order to have wrongs
perpetrated against them resolved fairly).
         This is a notice to the court that the ensuing trial which is scheduled for March 22, 2021 is
going to be held in contravention to the constitutional rights of the Plaintiff. This is true since she
has been denied discovery by both the defense and the court while she has cooperated fully with
those requests asked of her by the defense. Furthermore, this collusion has resulted in falsified
information given and used by the defense and the court in reference to the personal property of
the Plaintiff to which she has already received a writ of replevin to repossess. Unfortunately, the
fairness of the Court seems to have terminated after receiving advice or communication from one
or more staff members of the NYSDEC or an individual(s) on its behalf. 4                               Such ad-vice and/or
communication should be disclosed to all parties in the action in order to avoid a severe
discrepancy between the parties involved in the case and erroneous judgement in, or disposition
of, the case.
         By preventing the Plaintiff from not only accessing the courts, but also accessing fair
treatment (aka justice), her due process rights have been violated since the physical access to the
courts does not necessarily equate to access to just and fair treatment; it's merely the first step in
doing so.
         Fair responses from opposing counsel to discovery requests from the Plaintiff as well as
failure of courts to schedule or hear Plaintiffs motions to compel discovery or even schedule a
hearing for such a motion, has also been characteristic of the cases in which there has been some


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  Another method employed by the NYSDEC is the use of an attorney outside of the agency in order to influence defense
attorneys and judges. This way, the defense counsel and courts can hide behind privilege exempting them from the requirement
of disclosing information given to them by the attorney, Michael F. Young, of Lowville, New York. Mr. Young was the attorney
for the defense in Leo v Thomas in which the Plaintiff filed for the same reason as the case at bar in Garvin County; that is,
the return of personal property. By way of falsified information submitted to the court by Mr. Young and his client, two
additional cases were filed by the Plaintiff in Texas against two other individuals approached by Mr. Young and his client asking
for their help in supporting the falsified evidence "proving" the Plaintiff's personal property could not be returned. As the
court and defense counsel knows, there are also boundaries to the attorney-attorney and attorney-judge privileges in which
scheming and influencing cases unfairly and causing prejudice by denying the rights to due process of one of the par4ties to
an action is not included in any exemption to disclose by way of any privilege.


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type of interference by the NYSDEC and/or its compadres. At least several of the Plaintiffs cases
have been affected, especially one sin which she is petitioning for the return of her animals. This
has been the modus operandi of the NYSDEC in at least two of the Plaintiffs other cases in which
the agency is not a party.         As a result, the Plaintiff files this objection to an in-person trial being
scheduled by the court for March 22, 2021 and the seeming denial of her right to discovery in
order to prepare for the trial.
          Regardless of what the NYSDEC, Attorney Young, or any other person associated in any
way with the NYSDEC or its agenda, thinks or has stated secretly to anyone else, the Plaintiff has
had meritorious case in each of her cases pending in a court of law. All have been passed to
proceed to be presided over by a judge by court clerks and the causes of action have been sound
in all of them, with the possible exception of a couple causes of action in one of the cases which
is curable.
          There has been no evidence provided by any person to prove that the Plaintiff has filed any
case or action in bad faith, especially since she has made sincere, sometimes numerous, attempts
to resolve the situation prior to filing. This was the case with the case at bar as well. The Plaintiff
made effort on two occasions, October 26, 2018 and November 6, 2018, to resolve 5 the situation
directly with the Lowes and made a settlement offer in the recent past to them through their
attorney, Robert Rennie. The first conversation in October, the Lowes declined to resolve the
situation. The second attempt at resolution, as well as the most recent settlement offer, were both
ignored by the Lowes and defense counsel, respectively.
          Because the Lowes had at offer and many opportunities to resolve the situation at hand,
and then had a lot of time to produce their own solutions before the NYSDEC became involved
and illegally blocked the Plaintiffs opportunity for a Second Amended Writ of Replevin, there
should be no reason for the Plaintiff to pay any attorney fees.
          The Plaintiff also feels her case should not be dismissed and she be granted another writ of
replevin so she may take her animals back. She has been waiting to move to another state with
her animals for quite some time and wishes to do so soon. The Plaintiff also has an active USDA
license still at this time although it isn't a necessity since a person may have a private collection of
exotic animals if they do not partake in any activities which are regulated such as exhibition.




5   Both conversations between the Plaintiff and Defendants occurred via Facebook private messenger and were
included in the Original Petition for the case in Exhibit 3.


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            The Plaintiff also requests full disclosure from both defense attorney, Robert T. Rennie,
Esq. and Judge Leah Edwards of any and all statements made by any staff member of the New
York State Department of Environmental Conservation or anyone else regarding the pending case
Carrie M Leo v Jeffrey L. Lowe and Lauren F. Lowe, ("Leo v Lowe" hereinafter) identified by
case number CJ 2019-00089.
            There's a reason certain individuals commit certain actions and communication in secrecy.
Such misdeeds are meant to prejudice another and thus are improper. It makes it impossible for
indigent, self-represented individuals to receive fair treatment and justice from the courts when
such obstacles are put in place, especially when they placed in the way without the litigant's
knowledge. Eventually, the litigant gets the impression that while she is doing her best to follow
the rules of the court, doing such starts to be a hindrance since the defense, court and external
influencers are playing an entirely different game, in which there seems to be no rules for conduct.
Specifically in this case, it is also meant by outside influencers to punish the Plaintiff for exercising
any of her "guaranteed" freedoms.
           Judge Edwards has the only court in which the Plaintiff has litigated, and in which did not
employ abusive means in its treatment of her. It's a court which was truly fair and impartial, 6 until
several weeks ago. The Plaintiff pleads with the court not to change the quality of the court's
treatment of her and that it remain fair and impartial - the only forum through which the Plaintiff
can achieve the long-awaited justice she has been trying to obtain for quite some time now.
           A response from both the court and defense counsel is requested which should include full
verified disclosure of any and all ex-parte communication between them and any sources posing
external influences in the case. The Plaintiff has the right to know who her accusers are and what
is being alleged against her so she may respond 7 with her own statements to protect and defend
her interests and most importantly, her rights. If the NYSDEC wants influence in the case, their
participation must be transparent, and they should be petitioning the court to be included as a party
to the action.
Date: February 9, 2021                                          Respectfully submitted,




                                                                    Carrie M. Leo, Plaintiff
                                                                    3199 Walworth Road
6 5 Oki. St. Chap. 1, Appx. 4, Rule 2.2                             Walworth, NY 14568
    5 Oki. St. Chap. 1, Appx. 4, Rule 2.3                           tele: (315) 538-8316
7
    5 Oki. St. Chap. 1, Appx. 4, Rule 2.6(A)

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                                                                             I\' TH[ DISTRICT corRT
                                                                     GAR\'l\' cor~TY, STAT[ OF OKLAHOllA


                               CARRIE M. LEO,
                                                           Plaintiff,                      Case No. CJ 2019-00089
                                                                -V -

                      JEFFREY L. LOVi/E and
                        LAUREN F. LO\A/E,
                                                   Defendants.

                                                                                VERIFICATION

             Carrie Leo, of lawful age, being first duly sworn upon oath, deposes and states that she is
the Plaintiff in the above-named case, that she has authored, read and understands the foregoing
statements, knows the contents thereof, that the facts therein set forth are true and correct and that
no statements thereof are frivolous, to the best of her knowledge and belief.
Date: February 9, 2021


                                                                                                 Carrie: ~1 Lc:o. Plaintiff_:,,. ...
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                                                                             CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
via USPS to defense counsel, Robert T. Rennie, Esq., Attorney for the Defendants, Jeff and Lauren
Lowe at the mailing address for Rennie Law Office, 118 Chickasaw, Pauls Valley, OK 73075 this
9th day of February 2021.



                                                                                                 Carrie ~1. Leo. Plamt1fr,:r ...
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